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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW HAMPSHIRE

 UNITED STATES OF AMERICA & STATE
 OF NEW HAMPSHIRE DEPARTMENT OF
 ENVIRONMENTAL SERVICES,

        Plaintiffs,
                                                              Civ. No. 1:22-cv-289-SM
 v.
 MCCORD CORP.,
        Defendant.




                  ORDER UNDER FEDERAL RULE OF EVIDENCE 502

Pursuant to Rules 16(b) and 26(c) of the Federal Rules of Civil Procedure, and pursuant to Rule

502 of the Federal Rules of Evidence, it is hereby ORDERED:

       1.      This Order invokes Rules 16(b) and 26(c) of the Federal Rules of Civil Procedure,

as well as the protections afforded by Rule 502(d) of the Federal Rules of Evidence.

Accordingly, the provisions in Rule 502(b) do not apply to the disclosure of communications or

information in discovery in this matter.

       2.      The prosecution and defense of this action will require each Party to review and to

disclose large quantities of information and documents, including electronically stored

information, through the discovery process. As a result, page-by-page preproduction privilege

review would likely impose an undue burden on the Parties’ resources.

       3.      Each party is entitled to decide the appropriate degree of care to exercise in

reviewing materials for privilege, taking into account the volume and sensitivity of the materials,

the demands of the litigation, and the resources that the party can make available. Irrespective of

the care that is actually exercised in reviewing materials for privilege, the Court hereby orders


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pursuant to Rule 502(d) of the Federal Rules of Evidence that disclosure of privileged or

protected information or documents in discovery conducted in this litigation will not constitute

or be deemed a waiver or forfeiture—in this or any other federal or state proceeding—of any

claims of attorney-client privilege or work product protection that the disclosing Party would

otherwise be entitled to assert with respect to the information or documents and their subject

matter.

          4.    The Court further orders that because expedited or truncated privilege review is

likely necessary for the just, speedy, and inexpensive resolution of this matter, the disclosure of

privileged or protected information or documents in discovery conducted in this litigation will be

deemed unintentional, inadvertent, and compelled by order of this Court. Such disclosure will

not constitute a waiver of the disclosing party’s right to claim any privilege or protection,

including without limitation the deliberative process privilege, that would have applied to the

information or documents or their subject matter but for the disclosure, provided only that the

party disclaiming waiver employed procedures reasonably designed to screen out privileged

materials.

          5.    Regardless of whether the procedures to screen out privileged materials were

reasonable, the Parties shall not argue, in this forum or any other, that any privileges were

waived as a result of disclosures in this litigation.

          6.    If a Party determines that it has produced a document upon which it wishes to

make a claim of privilege, the producing Party shall, within 14 days of making such

determination, give all counsel of record notice of the claim of privilege. The notice must

identify each such document and the date it was produced. If the producing Party claims that

only a portion of a document is privileged, the producing Party shall provide, along with the



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notice of the claim of privilege, a new copy of the document with the allegedly privileged

portions redacted. Any party that complies with this paragraph will be deemed to have taken

reasonable steps to rectify disclosures of privileged or protected information or materials.

       7.      If a Party identifies a document that appears on its face or in light of facts known

to the Party to be subject to another Party’s claim of privilege, the Party identifying the potential

claim of privilege is under a good-faith obligation to notify the Party holding the potential claim

of privilege. Such notification will not waive the identifying Party’s ability to subsequently

challenge any assertion of privilege with respect to the identified document. If the Party holding

the potential claim of privilege wishes to assert a claim of privilege, it shall provide notice in

accordance with Paragraph 6 above within five business days of receiving notice from the

identifying Party.

       8.      Upon receiving notice of a claim of privilege on a produced document, the

receiving Party shall, in accordance with Fed. R. Civ. P. 26(b)(5)(B), promptly sequester the

specified information and any copies it has and shall not use or disclose the information, except

as provided by Fed. R. Civ. P. 26(b)(5)(B), until the claim is resolved. Copies of privileged

documents or information that have been stored on electronic media that is not reasonably

accessible, such disaster recovery backup media, are adequately sequestered as long as they are

not restored; if such data is restored, the receiving Party shall take steps to re-sequester the

restored information. If the receiving Party disclosed the information before being notified, it

shall take reasonable steps to prevent further use of such information until the claim is resolved.

       9.      Notwithstanding the duties under Rule 26(b)(5)(B), absent an order expressly

stating otherwise, a party may make derivative use of, and may pursue leads suggested by, any

inadvertently produced privileged information known to the party before duty arose to return,



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sequester, or destroy the privileged information. The receipt of inadvertently disclosed privileged

information shall not be the basis for disqualifying counsel from this action absent a showing of

bad faith in receiving the information.

       10.     If a Party wishes to dispute a claim of privilege asserted under this Order, such

Party shall, within 14 days, move the Court for an order compelling disclosure of the

information. The Party shall follow the procedures described in Fed. R. Civ. P. 26(b)(5)(B) and

shall not assert, as a ground for compelling disclosure, the fact or circumstances of the

disclosure. Pending resolution of the motion, the Parties shall not use the challenged information

for any other purpose and shall not disclose it to any person other than those required by law to

be served with a copy of the sealed motion.

       11.     The Parties may stipulate to extend the time periods specified in Paragraphs 6, 7,

or 10 above.

       12.     Nothing in this order overrides any attorney’s ethical responsibilities to refrain

from examining or disclosing materials that the attorney knows or reasonably should know to be

privileged and to inform the disclosing party that such materials have been produced.

       13.     The Party wishing to assert a claim of privilege retains the burden, upon challenge

pursuant to Paragraph 10, of establishing the applicability of the claimed privilege.

       14.     This Order does not preclude a Party from voluntarily waiving any claims of

privilege. The provisions of Rule 502(a) of the Federal Rules of Evidence apply when a Party

uses privileged information to support a claim or defense.




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SO ORDERED this ______ day of _______________, 2023,




                                      HON. Judge Steven J. McAuliffe
                                      United States District Judge




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